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			Court InformationCourtClerk’s OfficeDirectionsHolidaysHistoryToursMediaPurchase Certificates, Opinions and DVD’sArchived Oral ArgumentsEmployment OpportunitiesNews and ReportsBiographiesChief Justice P. Harris HinesPresiding Justice Harold D. MeltonJustice Robert BenhamJustice Carol W. HunsteinJustice David E. NahmiasJustice Keith R. BlackwellJustice Michael P. BoggsJustice Nels S.D. PetersonJustice Britt C. GrantCertificates &amp; ReportsLaw School Graduate CertificateReciprocity/Court of Last Resort CertificatesLegal Education Committee ReportQuick LinksAttorney AdmissionsDomestic Relations CasesLegal WebsitesPauper’s AffidavitOral Argument Calendar2018 Summaries of Cases2017 Summaries of Cases2016 Summaries of CasesDocketGranted and Denied Petitions2018 Granted2018 Denied2017 Granted2017 Denied2016 Granted2016 Denied2015 Granted2015 DeniedGranted Applications2018 Interlocutory2017 Interlocutory2016 Rule 34 (4) Discretionary2016 Interlocutory2015 Rule 34 (4) Discretionary2015 InterlocutoryOpinionsForthcoming Opinions2018 Opinions2017 Opinions2016 OpinionsRulese-fileRule 3.15 Form



																
	
 
				
				
			
					
		
					
						
							
		
						
			

					
			
			
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				Sam Harry			
		
	
			
			2017-10-30T10:04:28+00:00		
	
						
				
					
						


	
	
	
		
		
		

		
		 

		
		State of the Judiciary  

		
		Chief Justice P. Harris Hines delivered his final State of the Judiciary address Thursday, Feb. 22, to a joint session of the Georgia Legislature. He said he is confident that when he steps down from the bench in August after 44 years as a judge, Georgia’s judiciary will be “steady, strong, and situated to become the best it has ever been.” 
	
	
	
		
		
		

		
		 

		
		Welcome to the  Supreme Court of Georgia. 

		
		Our goal is to provide the bench, bar and general public with timely and accurate information about the Supreme Court and the administration of justice in Georgia.  
	
	
	
		
		
		

		
		 

		
		Justices' Biographies 

		
		Read about the Justices of the Supreme Court of Georgia. 
	
	
	
		
		
		

		
		 

		
		Oral Arguments
 

		
		View oral arguments from the current Court term. 
	
	
	
		
		
		

		
		 

		
		Opinions 

		
		Opinions are published an average of twice a month.  On Fridays at 2 p.m., we will provide on our website a list of  any opinions due to come out the following Monday. 
	
	
	
		
		
		

		
		 

		
		Court History
 

		
		Learn about the history of the Supreme Court of Georgia. 
	


	

		
		
				

					
				
					
						
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							Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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Rule 3.15 Form
																					
																										
							Oral Argument CalendarCurrent Monthmarch 2018Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				05mar10:00 am4:00 pmOral ArgumentsView Full Calendar
																					
																										
											News and Reports		
											
					2/22/18 – STATE OF THE JUDICIARY
									
											
					2/7/18 – CHIEF JUSTICE RECEIVES LIFETIME PUBLIC SERVICE AWARD
									
											
					2/6/18 – NEW RULE APPROVED FOR USE OF RECORDING DEVICES IN COURTROOMS
									
					
		View All News and Reports
																					
																											
				
			 
		 
	 

	
	
		
			

				
		
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